Case 2:15-cv-01170-JRG-RSP Document 14 Filed 10/17/16 Page 1 of 1 PageID #: 71




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

SYMBOLOGY INNOVATIONS, LLC                       §
    Plaintiff,                                   §
                                                 §          Case No. 2:15-cv-1169-RWS-RSP
vs.                                              §          LEAD CASE
                                                 §
ADAMS EXTRACT                                    §
    Defendant.                                   §


SYMBOLOGY INNOVATIONS, LLC                       §
    Plaintiff,                                   §
                                                 §          Case No. 2:15-cv-1170-RWS-RSP
vs.                                              §
                                                 §
AETNA, INC.                                      §
    Defendant.                                   §

                                   ORDER OF DISMISSAL
.
       Before the court is Plaintiff Symbology Innovations, LLC (“Plaintiff”) and Defendant

Aetna Inc.’s (“Aetna”) (collectively, the “Parties”) Joint Motion to Dismiss.

       The Court, having considered the Parties’ Motion, finds that the Motion should be

GRANTED.

       IT IS ORDERED, ADJUDGED, AND DECREED that Plaintiff’s claims against Aetna

are dismissed WITH PREJUDICE.

       IT IS FURTHER ORDERED that all costs, expenses, attorneys’ and other fees are to be

borne by the party that incurred them.
       SIGNED this 3rd day of January, 2012.
       SIGNED this 16th day of October, 2016.




                                                     ____________________________________
                                                     ROY S. PAYNE
                                                     UNITED STATES MAGISTRATE JUDGE
